8:11-cr-00294-JFB-FG3          Doc # 114     Filed: 06/10/13     Page 1 of 1 - Page ID # 322




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )              8:05CR396
                      Plaintiff,             )
                                             )
       vs.                                   )               ORDER
                                             )
LENADO SUMMAGE,                              )
                                             )
                  Defendant.                 )

       At the initial appearance of the defendant on the charges contained in the indictment
on file, the United States moved to detain the defendant without bail pending trial on the
basis that he was a flight risk and a danger to the community. At the time of his initial
appearance before the court, the defendant was in the custody of Douglas County,
Nebraska authorities on state charges. Accordingly,
       IT IS ORDERED:
       The government's motion for detention of Lenado Summage, pursuant to the Bail
Reform Act, is held in abeyance pending the defendant's coming into federal custody.
       IT IS FURTHER ORDERED:
       The defendant, Lenado Summage, received notice of his return to the custody of
Douglas County, Nebraska authorities pending the disposition of this matter and having
waived an opportunity for hearing in this matter pursuant to the Interstate Agreement on
Detainers, 18 U.S.C. app § 9(2). The U.S. Marshal is authorized to return the defendant to
the custody of Douglas County, Nebraska authorities pending the final disposition of this
matter and the U.S. Marshal for the District of Nebraska is directed to place a detainer with
the correctional officer having custody of the defendant.
       DATED this 10th day of June, 2013.
                                                    BY THE COURT:


                                                    s/ F. A. Gossett
                                                    United States Magistrate Judge
